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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    RAUL VALENZUELA CERVANTES,                         No. 2:22-cv-1961-TLN-AC
12                       Plaintiff,
13           v.                                          ORDER
14    PORTER, et al.,
15                       Defendant.
16

17          Plaintiff, a state prisoner proceeding pro se, has filed this civil rights action seeking relief

18   under 42 U.S.C. § 1983. The matter was referred to a United States Magistrate Judge pursuant to

19   28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On March 8, 2023, the magistrate judge issued findings and recommendations herein

21   which were served on Plaintiff, and which contained notice to Plaintiff that any objections to the

22   findings and recommendations were to be filed within fourteen days. (ECF No. 12.) Plaintiff has

23   filed objections to the findings and recommendations. (ECF No. 13.)

24          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25   Court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26   Court finds the findings and recommendations to be supported by the record and by proper

27   analysis.

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 1          Accordingly, IT IS HEREBY ORDERED that:

 2          1. The findings and recommendations issued March 8, 2023 (ECF No. 12), are

 3   ADOPTED in full, and

 4          2. This action is DISMISSED without prejudice.

 5   Date: June 20, 2023

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 8                         Troy L. Nunley
                           United States District Judge
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